                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

 ABUBAKAR ABDU GIZA, et al.,

                          Plaintiff,

                          v.                      Case No. 23-cv-1641 (CRC)

 ANTHONY J. BLINKEN, U.S. Secretary of
 State, et al.,

                          Defendants.

                                              ORDER

          For the reasons stated in the accompanying Memorandum Opinion, it is hereby

          ORDERED THAT [ECF No. 8] Defendants’ Motion to Dismiss is GRANTED. It is

further

          ORDERED that the complaint and the case are dismissed.

          This is a final appealable Order.

          SO ORDERED.




                                                           CHRISTOPHER R. COOPER
                                                           United States District Judge

Date: August 27, 2024
